Case: 1:21-cv-03074 Document #: 6 Filed: 07/12/21 Page 1 of 3 PagelD #:12

AO 440 (Rev. 05/00) Summons in a Civil Action

 

 

 

 

 

 

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ALIAS SUMMONS IN A CIVIL CASE
CHRISTINA CASTANEDA, ,

CASE NUMBER: 1:21-cv-03074

V. ASSIGNED JUDGE: Hon. John Robert Blakey

NATIONAL DEALER SERVICES, LLC

DESIGNATED
A/K/A NATIONAL DEALER PROTECTION 1

MAGISTRATE JUDGE: Hon: Young B. Kim

%

TO: (Name and address of Defendant)

NATIONAL DEALER SERVICES, LLC
A/K/A NATIONAL DEALER PROTECTION
c/o REGISTERED AGENT

ALAN LE WILLIAMS

3033 STH AVE STE 270

SAN DIEGO CA 92103

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

Victor T. Metroff

Sulaiman Law Group, Ltd.

2500 South Highland Ave., Suite 200
Lombard, Illinois 60148

an answer to the complaint which is herewith served upon you, 7! days after service of this

summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for

the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.

THOMAS G. BRUTON, CLERK

COL. 4

June 24, 2021

 

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(By) DEPUTY CLERK —

 
Case: 1:21-cv-03074 Document #: 6 Filed: 07/12/21 Page 2 of 3 PagelD #:13

 

Unitep States District CourRT

 

 

for the
NORTHERN DISTRICT OF ILLINOIS ‘

EASTERN DIVISION
CHRISTINA CASTANEDA,
Plaintiff )
)

‘ ) Civil Action No. 1:21-cv-03074

NATIONAL DEALER SERVICES, LLC A/K/A )
NATIONAL DEALER PROTECTION

Defendant y

AFFIDAVIT OF SERVICE

I, Andrew Vartgess, being duly sworn, state: ’

Iam 18 years or older and not a party to this action or a member of a corporation or organization that
is a party to this action.

I served the following documents on National Dealer Services, LLC in San Diego County, CA on
July 6, 2021 at 9:13 am at 3033 Fifth Ave, Suite 270, San Diego, CA 92103 by leaving the following
documents with John Mayer who as General Manager at Law Offices of Alan Williams is authorized
by appointment or by law to receive service of process for National Dealer Services, LLC.

ALIAS SUMMONS IN A CIVIL CASE and COMPLAINT

Additional Description:
Served John Mayer, authorized to accept service for registered agent Alan Williams.

White Male, est. age 48, glasses: N, Brown hair, 180 Ibs to 200 Ibs, 5'9" to 6. ,
Geolocation of Serve: http://maps.google.com/maps?q=32.7372845449,-117.1604509001
Photograph: See Exhibit |

I DECLARE UNDER PENALTY OF PERJURY THAT THE FACTS HEREIN ARE TRUE AND
CORRECT.
Case: 1:21-cv-03074 Document #: 6 Filed: 07/12/21 Page 3 of 3 PagelD #:14

Andreu Vartgess
Signature

_FAN/2021 Andrew Vartgess
(858) 568-5954

 

Executed in San Diego County , CA on

 
